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15
                             UNITED STATES DISTRICT COURT
16
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
                                    EASTERN DIVISION
18
     UNITED STATES OF AMERICA,                No. EDCR 15-93-JGB
19
               Plaintiff,                     ORDER REQUIRING DISCLOSURE OF
20                                            DEFENDANT’S EXPERT REPORT(S)
                     v.
21
     ENRIQUE MARQUEZ, JR.,
22
               Defendant.                    NOTE: CHANGES MADE BY THE COURT
23

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25   ///
26   ///
27   ///
28   ///
     Case 5:15-cr-00093-JGB Document 129 Filed 05/31/18 Page 2 of 2 Page ID #:958



 1   For good cause shown,

 2           Defendant shall disclose to the government any experts and/or

 3   expert reports that defendant intends to rely on in support of his

 4   position regarding sentencing no later than June 5, 2018.
 5           IT IS SO ORDERED.

 6   Date:    May 31, 2018                   __________________________________
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                                                                       ERNAL
 7                                           United
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                                                teed
                                                   d States District Judge
 8

 9   Presented by:
10    /s/ Melanie Sartoris
     MELANIE SARTORIS
11   Assistant United States Attorney
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